                  Case: 1:18-cv-06785 Document #: 4 Filed: 10/12/18 Page 1 of 2 PageID #:7
                       Case MDL No. 2867 Document 108 Filed 10/12/18 Page 1 of 2
FILED 10/12/2018
Judge Virginia M. Kendall
Magistrate Judge Susan Cox                UNITED STATES JUDICIAL PANEL
Lead Case Number 1:18-cv-6785                           on
Tag Along Cases: 1:18-cv-6880,             MULTIDISTRICT LITIGATION
1:18-cv-6881, 1:18-cv-6882, 1:18-cv-6883 MD;
1:18-cv-6884, 1:18-cv-6885, 1:18-cv-6886 NYS;
JJR
             IN RE: LOCAL TV ADVERTISING ANTITRUST
             LITIGATION                                                                MDL No. 2867



                                              (SEE ATTACHED SCHEDULE)



                                    CONDITIONAL TRANSFER ORDER (CTO −1)



           On October 3, 2018, the Panel transferred 1 civil action(s) to the United States District Court for the
           Northern District of Illinois for coordinated or consolidated pretrial proceedings pursuant to 28
           U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2018). Since that time, no additional action(s) have been
           transferred to the Northern District of Illinois. With the consent of that court, all such actions have
           been assigned to the Honorable Virginia M. Kendall.

           It appears that the action(s) on this conditional transfer order involve questions of fact that are
           common to the actions previously transferred to the Northern District of Illinois and assigned to
           Judge Kendall.

           Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
           Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
           Northern District of Illinois for the reasons stated in the order of October 3, 2018, and, with the
           consent of that court, assigned to the Honorable Virginia M. Kendall.

           This order does not become effective until it is filed in the Office of the Clerk of the United States
           District Court for the Northern District of Illinois. The transmittal of this order to said Clerk shall be
           stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
           Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                                   FOR THE PANEL:


                              Oct 12, 2018
                                                                   Jeffery N. Lüthi
                                                                   Clerk of the Panel
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                IN RE: LOCAL TV ADVERTISING ANTITRUST
                LITIGATION                                                                    MDL No. 2867



                                  SCHEDULE CTO−1 − TAG−ALONG ACTIONS



                 DIST      DIV.      C.A.NO.        CASE CAPTION


                MARYLAND

 1:18-cv-06880    MD        1        18−02372       Ford, v. Sinclair Broadcast Group, Inc. et al
 1:18-cv-06881    MD        1        18−02713       My Philly Lawyer v. Sinclair Broadcast Group, Inc. et al
                                                    One Source Heating & Cooling, LLC v. Gray
 1:18-cv-06882 MD           1        18−02765       Television, Inc. et al
 1:18-cv-06883 MD                                   John O'Neil Johnson Toyota, LLC v. Gray Television,
                            1        18−02913       Inc. et al

                NEW YORK SOUTHERN

1:18-cv-06884                                       Crowley Webb and Associates, Inc. v. Hearst
                  NYS       1        18−07976       Communications, Inc. et al
1:18-cv-06885                                       Northtown Automotive Companies, Inc. v. Hearst
                  NYS       1        18−08485       Television Inc., et al
1:18-cv-06886     NYS       1        18−08778       Cellino & Barnes, P.C. v. Hearst Television, Inc. et al
